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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                )
                                        )                               23mj1459
                                                   -Magistrate Case No. _ _ __
              Plaintiff,                )
                                        )          COMPLAINT FOR VIOLATION OF:
             v.                         )          Title 8, U.S.C., Sec. 1324(a)(2)(B)(iii)
                                        )          Bringing in Unlawful Alien(s)
Fiona TemukisaFIASEU {Dl),              )          Without Presentation
Jhinee Tatsoolevau PALEMO (D2),         )
                                        )
             Defendants.                )


      The undersigned complainant, being duly sworn states:

        On or about April 21, 2023, within the Southern District of California,
Defendants Fiona Temukisa FIASEU and Jhinee Tatsoolevau PALEMO, with the
intent to violate the immigration laws of the United States, knowingly and in reckless
disregard of the fact that alien, namely, Elia Soledad BLAS-Morales, had not
received prior official authorization to come to, enter and reside in the United States,
did bring to the United States said alien, and upon arrival did not bring and present
said alien immediately to an appropriate immigration officer at a designated port of
entry; in violation of Title 8, United States Code, Section 1324(a)(2)(B)(iii).

      And the complainant states that this complaint is based on the attached
statement of facts which is incorporated herein by reference.




                                 ~ O F CO:MPLAlNANT
                                 Adriana Rosas-Carranza, CBP Enforcement Officer
                                 U.S. Customs and Border Protection

Sworn and attested to under oath by telephone, in accordance with Federal ·Rule of
Criminal Procedure 4.1, this 24th of April 2023 .
                                             ...


                                             LL. BURKHARDT
                                             STATES MAGISTRATE JUDGE
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                 AMENDED PROBABLE CAUSE STATEMENT

The complainant states that Elia Soledad BLAS-Morales is a citizen of a country
other than the United States; that said alien has admitted she is deportable; that her
testimony is material; that it is impracticable to secure her attendance at trial by
subpoena; and that she is a material witness in relation to this criminal charge and
should be held or admitted to bail pursuant to Title 18, United States Code, Section
3144.

On April 21, 2023, at approximately 6:40 A.M., Fiona Temukisa FIASEU(Dl),'a
United States citizen, applied for admission into the United States from Mexico via
the San Ysidro, California Port of Entry vehicle primary lanes as the driver of a 2022
Dodge Ram U-Haul pickup bearing Arizona license plates. Accompanying DI was
Jhinee Tatsoolevau PA:MELO (D2), a United States citizen. Upon inspection before
a United States Customs and Border Protection (CBP) Officer conducting pre-
primary roving inspections, D 1 said she was going to Orange County, California
with nothing to declare from Mexico. D 1 told the CBP Officer they just finished
helping a friend move stuff to Mexico. The CBP Officer conducted an inspection of
the truck's interior and discovered a person concealed in the back area of the cab.
D 1 and D2 were placed in handcuff restraints and escorted to the security office.
The vehicle was driven to the secondary inspection lot by another officer.

In secondary, a responding CBP Officer took evidentiary photographs of the vehicle
and concealment method. CBP Officers pulled forward the front driver seat and
passenger seats freeing one female from underneath a piece of carpet. The female
was later identified as Elia Soledad BLAS-Morales (Material Witness), determined
to be a citizen of Mexico without legal documents to enter, pass through or reside in
the United States; BLAS-Morales was held as a Material Witness.

Queries revealed the vehicle was registered to U-Haul Co of Arizona at 2727 N.
Central A venue Phoenix, Arizona 85004. Further queries showed the vehicle traveled
outbound into Mexico on Friday, April 21, 2023, at about 4:22 A.M. with an empty
truck bed.

Material Witness admitted to being a citizen of Mexico, with no legal documents to
enter the United States. Material Witness admitted a friend made the smuggling
arrangements for her to be unlawfully transported into the United States for an
undisclosed smuggling payment to be paid to unknown smugglers in Mexico.
Material Witness stated she was going to Los Angeles, California to reunite with
family members and seek employment.
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                           PROBABLECAUSESTATE!\1NT

  I, United States Customs and Border Protection Enforcement Officer Gabriela
  Nicasio, declare under penalty of perjury the following to be true and correct:

  The complainant states that Elia Soledad BLAS-Morales is a citizen of a country
, other than the United States; that said alien has admitted she is deportable; that her
  testimony is material; that it is impracticable to secure her attendance at trial by
  subpoena; and that she is a material witness in relation to this criminal charge and
  should be held or admitted to bail pursuant to Title 18, United States Code, Section
  3144.

  On April 21, 2023, at approximately 6:40 A.M., Fiona Temukisa FIASEU(D1), a
  United States citizen, applied for admission into the United States from Mexico via
 the San Ysidro, California Port ofEntry vehicle primary lanes as the driver of a 2022
 Dodge Ram U-Haul pickup bearing Arizona license plates. Accompanying DI was
 Jhinee Tatsoolevau PA.MELO (D2), a United States citizen. Upon inspection before
 a United States Customs and Border Protection (CBP) Officer conducting pre-
 primary roving inspections, DI said she was going to Orange County, California
 with nothing to declare from Mexico. D 1 told the CBP Officer they just finished
 helping a friend move stuff to Mexico. The CBP Officer conducted an inspection of
 the truck's interior and discovered a person concealed in the back area of the cab.
 D 1 and D2 were placed in handcuff restraints and escorted to the security office.
 The vehicle was driven to the secondary inspection lot by another officer.

 In secondary, a responding CBP Officer took evidentiary photographs of the vehicle
 and concealment method. CBP Officers pulled forward the front driver seat and
 passenger seats freeing one female from underneath a piece of carpet. The female
 was later identified as Elia Soledad BLAS...Morales (Material Witness), determined
 to be a citizen of Mexico without legal documents to enter, pass through or reside in
 the United States; BLAS-Morales was held as a Material Witness.

 Queries revealed the vehicle was registered to U-Haul Co of Arizona at 2727 N.
 Central Avenue Phoenix, Arizona 85004. Further queries showed the vehicle traveled
 outbound into Mexico on Friday, April 21, 2023, at about 4:22 A.M. with an empty
 truck bed.




 Probable Cause Statement continued on page 2,
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Continuation of Probable Cause Statement
RE: U.S. vs. Fiona Temukisa FIASEU et al

Material Witness admitted to being a citizen of Mexico, with no legal documents to
enter the United States. Material Witness admitted a friend made the smuggling
arrangements for her to be unlawfully transported into the United States for an
undisclosed smuggling payment to be paid to unknown smugglers in Mexico.
Material Witness stated she was going to Los Angeles, California to reunite with
family members and seek employment. Material Witness was shown a photographic
lineup and identified D l and D2 as the persons who placed her behind the seat of the
truck.                                                                            ·


Executed on this 22nd day of April 2023, at 9:30 A.M.


Gabriela Nicasio / CBP Enforcement Officer

On the basis ofthe facts presented in the Probable Cause Statement consisting of (2)
pages, I find probable cause to believe that D l and D2 named therein committed the
offense on April 21, 2023, in violation of Title 8, United States Code, Section
1324(a)(2)(B)(iii).


         if?
   MAGISTRATE JUDGE
                                                              4/22/23 10:53 a.m.
                                                             DATE/TIME
   LUPE RODRIGUEZ, Jr.
